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          Exhibit 2
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      P.B. – AMIN_0005676; AMIN_0015754
      A.B. – AMIN_0004007; AMIN_0004196; AMIN_00005470; AMIN_0015599;
       AMIN_0015618; AMIN_0015622; ICH003491-3544
      S.C. – AMIN_0004413; AMIN_0004753; AMIN_0005817; ICH001531-1597
      M.C. – AMIN_0004075; ICH0001893-1948
      M.C. – AMIN_0004352; ICH002022-2090
      C.C. – AMIN_0004465; AMIN_0004780; AMIN_0004915
      D.C. – AMIN_0005283; ICH003156-3222
      L.S. – AMIN_0009947
      K.M. – AMIN_0002563; ICH003353-3410
      W.D. – AMIN_0001846; ICH003762-3848
      R.S. – AMIN_0002202; ICH003055-3101
      M.A. – AMIN_0002093; ICH002387-2464
      Y.F. – AMIN_0007494
      A.F. – AMIN_0002667; ICH003223-3290
      L.G. – AMIN_0002984; ICH003291-3352
      N.G. – AMIN_0002003
      S.G. – AMIN_0001704
      O.I. – AMIN_0001351
      M.J. – AMIN_0006901; ICH000877-970
      M.K. – AMIN_0007968; ICH001077-1089; ICH001230-1296
      K.L. – AMIN_0008724; ICH001355-1395; ICH003744-3761
      R.L. – AMIN_0007639; ICH002206-2287
      K.G. – AMIN_0008625; ICH003102-3155
      R.M. – AMIN_0007290
      S.M – AMIN_0008220
      A.M. – AMIN_0004650
      A.M. – AMIN_0006211; ICH002893-2993
      D.M. – AMIN_0005515; ICH001090-1166
      C.M. – AMIN_0002776; ICH002091-2180
      V.N. – AMIN_0007879
      C.P. – AMIN_0007820; ICH001798-1860
      E.P. – AMIN_0008667; ICH003975-4045
      E.R. – AMIN_0009757
      Y.R. – AMIN_0009670; ICH003425-3490
      A.P. – AMIN_0010173; ICH002769-2823
      Y.R. – AMIN_0008061; ICH001949-2021
      Y.I. – AMIN_0010750; ICH002622-2705
      S.S. – AMIN_0011048; ICH000685-703; ICH000785-829
      E.J. – AMIN_0009295; ICH002706-2768
      M.T. – AMIN_0010551; ICH001297-1354
      V.S. – AMIN_0009250
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      I.V. – AMIN_0002290
      A.C. – AMIN_0010749; AMIN_0011016 ; ICH002527-2621
      F.W. – AMIN_0008843; ICH003903-3913; ICH004046-4113
      D.W. – AMIN_0009189; ICH002824-2892
      L.X – AMIN_0010934; ICH001744-1797
      J.W. – AMIN_0010683; ICH002195-2205; ICH002465-2526
      C.Y. – AMIN_0010229; ICH003849-3902
      K.C. – AMIN_0004472; AMIN_0005810; ICH000555-684
      B.P. – AMIN_0007070; AMIN_0007345
      M.B. – AMIN_0006713
      A.C. – AMIN_0005821
      A.F. – AMIN_0010840
      J.H. – AMIN_0003087
      J.M. – AMIN_0009535; AMIN_0010386; ICH001664-1722
      J.N. – AMIN_0001489; ICH001861-1892
      Y.O. – AMIN_0009448
      K.P. – AMIN_0005031
      K.R. – AMIN_0022259
      G.R. – AMIN_0008493
      S.S. – AMIN_0010408
      E.S. – AMIN_0006031
      L.S. – AMIN_0010363
      T.S. – AMIN_0011139
      L.W. – AMIN_0010623

In accordance with Federal Rule of Civil Procedure 26(a)(2)(B)(vi), we outline the compensation
of Plaintiff’s expert witnesses below:

As to Dr. Hamilton, she receives compensation of $450 per hour for non-testifying work. Should
Dr. Hamilton be required to provide testimony in this matter, she will receive compensation in
the amount of $4,000 per day.

As to Dr. Bills, he receives compensation of $500 per hour for non-testifying work. Should Dr.
Bills be required to provide testimony in this matter, he will receive compensation in the amount
of $5,000 per day.

                                             Yours truly,




                                             Stacey Godfrey Evans
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cc:      Eric Bierbauer, Esq. (by e-mail only, erik.bierbauer@nbcuni.com)
         Taylor M. Carter, Esq. (by e-mail only, taylor.carter@nbcuni.com)
         Amanda B. Levine, Esq. (by e-mail only, amandalevine@dwt.com)
         Leena Charlton, Esq. (by e-mail only, leenacharlton@dwt.com)
         Cynthia L. Counts, Esq. (by e-mail only, cynthia.counts@fisherbroyles.com)
         J. Amble Johnson, Esq. (by e-mail only, ajohnson@staceyevanslaw.com)
         Tiffany N. Watkins, Esq. (by e-mail only, twatkins@staceyevanslaw.com)
         Scott R. Grubman, Esq. (by e-mail only, sgrubman@cglawfirm.com)

Enclosure
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                       Lauren Frasciello Hamilton, M.D.
                            CHARLESTON OBGYN, LLC
               1027 Physicians Drive, Suite 110 Charleston SC, 29414
                                 (843) 740-6700




Employment

2021-present        Member Physician, Unified Women’s Healthcare

2018-present        Physician Director of Women’s Services, Roper St Francis Healthcare
                    System

1997-present        Charleston OBGYN, LLC, Charleston, SC, Private Practice.

1993-1997           Medical University of South Carolina, Charleston, SC, Administrative
                    Chief Resident

1993-1996           Medical University of South Carolina, Charleston, SC, House Staff

1988-1989           University of Maryland, Baltimore, MD, Department of Hematology,
                    Medical Technician Assistant

1993-1997           Medical University of South Carolina, Obstetrics and Gynecology,
                    Charleston, SC, Post Graduate Training, Residency

1987-1989           Tulane University School of Medicine, New Orleans, LA, Graduate Study,
                    MD

1983-1987           Goucher College, Towson, MD, BA (Biology)

Professional Organizations

1997-present        American Congress of Obstetrics and
                    Gynecology, Fellow

1997-present        Charleston County Medical Society


Administrative Appointments

2021-2023           Member Executive Council of Roper St. Francis
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                      Healthcare System
2016-2018             President, Medical Staff, St. Francis Healthcare
                      System

2015-2016             Vice President, Medical Staff, St. Francis
                      Healthcare System

2014-present          Board of Directors, Roper St. Francis Health
                      Alliance

2013-present          Division Director, Laborist Program St. Francis
                      Healthcare system

2014                  Secretary Elect, Medical Staff, St, Francis Healthcare
                      System

2010-2014             Vice Chairman Department of Obstetrics and
                      Gynecology Roper/St. Francis Healthcare
                      System


Hospital Privileges

St. Francis Hospital, Active Staff

Roper Hospital, Courtesy Staff

Honors and Awards

2013-present          Physician Leadership Program Roper/St, Francis
                      Healthcare System

1997                  Outstanding Resident Teaching Award, Medical
                      University of South Carolina

1996-1997             Administrative Chief Resident, Medical University of
                      South Carolina

1997                  Outstanding Laparoscopist Award, Medical University
                      of South Carolina

1987                  Who's Who Among Students in American Colleges
                      and Universities

1983                  John DiPolvere Scholarship
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Research

1995-1997             Medical University of South Carolina, Rape Related
                      Pregnancies: A Cross Sectional Analysis of the
                      Obstetric Population At MUSC; Melisa Holmes, MD,
                      Lauren Hamilton, MD

1994-1995             The Inter-Examiner: Correlation of a New
                      Standardized Method for Grading Pelvic Organ
                      Prolapse; Lauren Hamilton, MD, Steven Swift, MD,
                      MUSC Department of Obstetrics and Gynecology

1992-1993             Anorexia Nervosa in Males: A Case Report and
                      Review of the Literature; Lauren Frasciello,
                      Susan Willard, Department of Psychiatry

Publications
Hall, Andre F., Theofrastous, James P., Cundiff, Geoffrey C., Harris, Robert L.,
Hamilton, Lauren F., Swift, Steven E., Bump, Richard C., "Inter and Intra
Observer Reliability of the Proposed International Continence Society, Society
of Gynecologic Surgeons and American Urogynecology Society Pelvic Organ
Prolapse Classification System", American Journal of Obstetrics and
Gynecology, December 1996.

Frasciello, Lauren M., Williard, Susan G., "Anorexia Nervosa in Males: A Case
Report and Review of the Literature", Clinical Social Work Journal, Vol 23 No.
1, Spring, 1995

Activities

Residency             Administrative Chief Resident, 1996; Resident
                      Coordinator, Resident Selection Committee 1996, The
                      American Congress of Obstetrics and Gynecology,
                      Junior Fellow, 1993-1999

Medical School        Member, Owl Club Student Faculty Liaison Body, 1991-
                      1993; Applicant Interviewer, Committee of Admissions,
                      1991-1993; Vice President, Class of 1993, 1990-1991;
                      Honor Board, 1998- 1990; Orientation Committee 1991-
                      1992; Recruitment Chairperson of AMSA's Southeastern
                      Conference, 1991; Chairperson, Cadaver Ball
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                    Committee 1990, Member, Women in Medicine, 1989-
                    1993; Member,American Medical Student's Association,
                    1989-1992, Member, Student Executive Committee,
                    1990-1991

Undergraduate       Executive Board of Student Government, 1986-1987;
                    Chairperson of Dormitory Council, 1986-1987;
                    Dormitory President, 1986-1987; Resident Assistant,
                    1985-1986; Vice President, Student Health Advisory
                    Board 1985-1986; Member, Student Health Advisory
                    Board, 1983-1987, Biology Club, 1983-1986

Community Service Moncks Corner, Summerville Health Department, OB
                  Clinics, Moncks Corner, Summerville SC, 1996; Teen
                  Clinic, Medical University of South Carolina, Charleston,
                  SC 1996; Indian Health Services, Cuba, NM, October
                  1992; Intern, University of Maryland, Pediatric
                  Endocrinology Clinic, Baltimore, MD, 1989, Intern, Blind
                  Industries and Services of Maryland, Baltimore, MD,
                  1987; Volunteer, Princeton Hospital, Princeton, NJ, 1985
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                    Curriculum Vitae

                Elbridge F. Bills II, M.D.


Date:                 May 11, 2023

Address:              3180 North Point Pkwy Bldg 200, Suite 205
                      Alpharetta, GA 30005

Telephone:            404 -705 -9796 (home)
                      770 -362 -6902 (cell)
                      770 -777 -4933 (office)
                      770 -777 -4934 (office fax)

Email:                ebills@allianceobgyn.com

                      Current Positions:
                      President of Alliance Ob/Gyn P.C.         07/99-Present
                      Ob/Gyn practice
                      Alpharetta, GA

                      Ob Hospitalist Group                      9/2022-Present
                      Ob Hospitalist
                      Morton Plant/Mease Hospital
                      Clearwater, FL

                      Medical Director                          02/14-Present
                      Atlanta Medical Institute
                      Weight Loss & Hormonal Medicine
                      Atlanta, GA


Employment History: Employed physician in private practice
                    Arista Ob/Gyn                               10/96 -7/99
                    Alpharetta, GA

                      Employed physician in private practice
                      Perimeter North Ob/Gyn                    07/94-10/96
                      Atlanta, GA

Education:            Master’s Metabolic and Nutritional Medicine 12/2011
                      University of South Florida
                      Tampa, FL
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                  Board Certified                            06/1996 -Present
                  American Board of Ob/Gyn

                  Board Certified                            10/2012 - Present
                  American Board of Anti -Aging &
                  Regenerative Medicine

                  Fellowship in pelvic surgery               07/1993-06/1994
                  Saint Joseph’s Hospital
                  Atlanta, GA

                  Residency                                  07/1989 -06/1993
                  Department of Ob/Gyn
                  University of South
                  Florida Tampa, FL

                  Emory University School of Medicine        09/1985 -05/1989
                  Atlanta, GA


                  University of South Florida                06/1982 -05/1985
                  Tampa, FL
                  Bachelor of Engineering
                  Science Bachelor of
                  Science (Biology)
                  Magna Cum Laude
                  Florida Institute of Technology            09/1981 -05/1982
Licenses Held     Florida, Georgia

Bibliography:    Heymsfield S, Christy G, Bills E. Payne Y. Congestive Heart
                 Failure. In Jeejeebhoy K ED Current Therapy in Nutrition .
                 Toronto, B.C. Becker, Inc. 1988.
                 Slaker D, Bills E, Mellen, Wolfe D, Bernidino M ,
                 Bonkovsky H. Diagnosis of Hemochromatosis: Is the Liver
                 Biopsy Passe’?. Gastroenterlogy 92:1778, 1987.

Presentations:   OB/GYN Residents’ Training in Breast Disease: A National Survey.
                 Elbridge Bills M D & Jim Fiorica M D. A COG District IV Meeting
                 11/92.

Research:        Principal Investigator: Essure 305 Post -Approval Study (ESS305 PAS)
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Elbridge F Bills MD
Depositions and Testimony January 2014 – Present

1. 5/06/15 Lisa and Todd Gouge vs Women’s Health Associates of Walton PC. Walton County,
GA. Deposition – plaintiff

2. 9/12/16 Amanda Williams and Daniel Williams, individually and on behalf of their daughter,
KW vs. Clinical Innovations LLC, Wellstar Medical Group LLC, Caroline Gibbons MD, and
John Does, A-Z. Fulton County, GA. Deposition – plaintiff-

3. 2/14/17 Trabue vs. Atlanta Women’ Specialist Trial. Fulton County, GA. Trial– defense –

4. 7/21/17 Sorbin v. Barakat et al. New York, New York. Trial – plaintiff –

5. 8/18/17 Vernon Eugene Hand vs. Camden Ob/Gyn and Michelle Y. Perry. Camden County,
GA. Deposition-plaintiff.

6. 5/11/18 Victoria Singleton vs. Jean A Sansariq MD et al. Mobile County, Alabama,
Deposition – plaintiff.

7. 9/26/19 Cynthia McShane, Elijah Mcshane vs Amisub SFH. District of Memphis, Tennessee,
Deposition - plaintiff

8. 2/14/19 Michelle Ansley vs Southeast Georgia Health System. Glenn County, GA,
Deposition- plaintiff

9. 8/22/19 Kelly Wilson, et al. vs. USA. Nashville, TN Trial – defense.

10. 4/27/20 Ashley Wilson vs. Beaufort Memorial Hosptial, Beaufort, SC – plaintiff. Trail

11. 5/11/20 Victoria Thurber and Rusty Thurber vs. Davd K. Mehta MD, Escambia County, FL
Deposition – plaintiff

 12. 8/3/20 IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT IN AND
FOR HILLSBOROUGH COUNTY, STATE OF FLORIDA CIVIL DIVISION SAMUIL Samuil
Hennes, as the Personal Representative of the ESTATE OF EVETTE GUIRGUIS, vs University
of South Florida Board of Trustees,, Hillsborough County, FL, Deposition – plaintiff.

13. 10/2/20 In the Circuit Court of the 10th Judicial circuit in and for Polk County, Fl Diana
Lopez-Vazquez, Sergio Hernandez-Badillo vs Dr. Lisa Wiedel, Winter Haven Hospital
deposition Plaintiff

14. Javonya Hendon vs. Robert Timothy Stark MD Lowndes County, GA – deposition plaintiff

15. 2/22/21 Dena Kelly vx. Jeffrey D. Morrison DO & Tidewater Physicians Multispecialty
Group PC. Newport News Virginia deposition plaintiff
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16. 3/10/21 Carolyn Marie Williams vs UT Regional One Physicians Inc. Shelby County
Tennessee; deposition plaintiff

17. 7/21/21 Melinda Mikolasik vs Mease Hospital Countryside. Pinellas County, Florida
deposition plaintiff

18. 10/21/21 David & Angela Hill vs Jackson-Madison Co. Gen. Hospt, ET AL. Madison
County Tennessee. Deposition plaintiff

19. 2/14/22 Christy Marie Thomas vx Norton Hospital; Susan Tat e ; Jefferson Circuit Court,
Louisville Kentucky. Deposition plaintiff

20. 6/13/22 Ryan Betts vs Ian Scott D.O. Christian Circuit Court. Common Wealth of Kentucky;
Deposition plaintiff.

21. 7/8/22 Tammy Strickland vs Cheryl Razdan MD, District Court of Tulsa County, Oklahoma;
Deposition, plaintiff

22. 8/3/2022 Christy Marie Thomas vx Norton Hospital; Susan Tat e ; Jefferson Circuit Court,
Louisville Kentucky. Trial plaintiff

23. 11/28/22 Latonya Treadaway and husband, Gary Treadaway vs Suzanna Chatterjee MD;
Circuit Court of Sumner County TN, deposition; defendant

24. 2/17/2023 Jessica Gorby v Gary DeGuzman M Ohio County West Virginia , deposition;
plaintiff

25. 5/10/23 Jessica Gorby v Gary DeGuzman M Ohio County West Virginia , trial; plaintiff

26. 5/12/2023 Carman Blanchard and Michael Hobgood vs David Schroeder MD and Ob/Gyn
Professionals of East Tennessee PC and Parkwest Medical Center; Knox County Tennessee
deposition; plaintiff

27.6/2/2023 Jamesia Keshawn Moore a/k/a Jamesia Keshawn Rippy: Gregory Keith Moore, II
individually ans as the Natural Parents and on behalf of BABY BOY MOORE (deceased) v
AMISUB (SFH) Inc. d/b/a a/k/a Saint Francis Hopital -Park; SAINT FRNACIS MEDICAL
PERTNERS EAST, LLC d/b/a a/k/a St. Francis Women’s Health and Fertility; and Michael A.
Podraza MD Shelby County, Tennesse deposition plaintiff

28. 6/2/2023 Skyler Ogger as Next Friend of Andrew Stokes, a minor v Edward W. Sparrow
Hospital Associates, A Michigan nonprofit corporation, Angela C. Griffin MD. County of
Ingham, Michigan, deposition plaintiff
